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                         EXHIBIT A
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,....
    '
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                                                                                              / (Check One}
                                                                                        .[·V( IN THE COUNTY COURT FOR THE
                                                                                                ELEVENTH JUDICIAL CIRCUIT, IN
                                                                                                AND FOR MIAMI-DADE COUNTY,
                                                                                                FLORIDA
                                                                                                            OR
                                                                                               ] IN THE C~RCUIT COURT OF THE
                                                                                                ELEVENTH JUDICIAL CIRCUIT IN AND
                                                                                                FOR MIAMI-DADE COUNTY, FLORIDA



                     {Fifi in Party Name(s)}                              Plaintiff
                                                                                        Case No.

          V.

                         ALD·1
                    {Fill in Party Name(s)} )                     - ·-Defendant.'                              ON JUN 2 5 2018
                                                                                                                     IH THE OfACE OF
                                                                                                                 cmc1 r <:(io~r' v. rv.oe co
                                                                 COMPLAINT FOR DAMAGES                                     r.r~. . . r,, · ,1-;,,,   t




          Plaintiff, _       _._·5_e=-I1.cc.           =;. .,____...~. . . . . .~.=.:..[(C
                                         . :; : . ;i.'.Ct                               _...·,.~n...._____,sues defendant, _.,_f±'---'-'ID
                                                                                                                                         =.__:..i_
                                {Write name of Plaintiff(s) listed above}

          __,....:...;_
               1-e
               -_ f:    _( --=--
                             1' _ f.!,__;
                                    f
                                    . i  ~L.:,.
                                          r tm.. .:. , . :/1-=
                                                     .;_  . . :. er:.. +-:::e_:. . 1.5___;0=------'' and alleges:
                              {Write Name of Defendai?t(s) listed above}

          1. This is an action for damages in the amount of $_ _ _ _                                      __0_ ______
                                                                                                  /_b--+1_00
                                                                                                   {Wri(e dollar amount}

          2. Plaintiff resides at _ _..._
                                      \                    ~
                                                           lo..,..00
                                                                   '-=-l/__,_·---L.N~ UJ
                                                                                       _ . 3.:::._::
                                                                                           . . . g::;;_1_,.....:.
                                                                                                        -s P_(_oc · _;;;;
                                                                                                                  _  e ..____ _ _ _ __

                                                           D'2o -LDC(<'A Flor2JdA 336$
                                                                              {WrJe address of Plaintiff}

          3. Defendant resides at _ _____,_)....;:;
                                              ~_c   --=
                                                      o
                                                      ·                _..1..,;:(V;..o:;_,(\4Jh
                                                                                          __..;...._.,_K'-r'-'-r-k
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                                                                                                                          ~~:::...,:__-----
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          ~~~~~--------'~~-L=.J·.. .l/l.
                                    . . .C .~.(l..
                                              31Cl"--,1)----
                                                        ·~  ~1..____,.,.._
                                                                     ~ -=...
                                                                           ():=;J
                                                                              ~ {:)
                                                                                  ~ ~ ~ ~ or
                                                                            {Write address of Defendant}

          Defendant is a Florida Corporation doing business at                        \' -~   q O J\.) b         fO 8' ~S'i-r,e. €. i-
                                                                          fY) i a Mi' ,+:\OYZ~oa                 3 3l (Q 1
                                                                           {Write address'of Defendant}
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   5. Plaintiff is entitled to relief ~from de.tendant under the above
                                             (                     ~ ~
                                                                       facts.on the basis of defendant's

   {Write description of basis for relief- such as breach of contract, negligence, etc}   f'c< (";i, 'fy I h:J a..
  _u..;__
     J(_,~+
          - -~----'Y'\
                   --'----=-~--'---'---'---~--'--=-'---by reason of {Write facts to support your basis of relief}




   {Number of Paragraph} _ _ _ _ of the contract entered into between plaintiff and defendant.

          As a result, plaintiff requests judgment against defendant for damages, attorney's fees if
  applicable; costs of suit, and any other and further relief as the court may deem proper.

  {OPTIONAL}     L        {Check if desired} Plaintiff, demands a jury trial in the above-entitled action.



  {Fill in Date}: ON THIS       J;)'5      {Date} DAY OF _J(
                                                          _ {l_Y)
                                                               ;___:l::_____ {Month}, 20,_ i_f _ __


                             Respectlullyfiledb~         ~                        ~
                            {Fill in Signature}:                        ~
                            {Fill in Name} NAM~ ~ ( ) _
                                                         •
                                                                             Pa±le@n
                            {Fill in Address} ADDRESS:     1laOOL/ J1J W 3f tf\ /!lace
                                                         O{X) - !oCJW J P{QttW 3::tc1Jc/
                            {Fill in Telephone} TELEPHONE:-- - - - - - - - - - - - -




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                                   IN THE COUNTY COURT, IN AND FOR
                                     MIAMI-DADE COUNTY, FLORIDA

        FELICIA PATTERSON,

                Plaintiff,

        vs.
                                                                 CASE NO.: 18-13643 CC 05
        ALDI,

                Defendant.
                                                        /

                      NOTICE OF APPEARANCE AND DESIGNATION OF E-MAIL
                        ADDRESSES FOR SERVICE OF COURT DOCUMENTS

                Defendant, ALDI (Florida) LLC (hereinafter referred to as “ALDI”) , improperly named

        ALDI, hereby gives notice of the appearance of the firm of RUMBERGER, KIRK &

        CALDWELL, A Professional Association and Suzanne A. Singer, Esq., as its counsel herein.

                Pursuant to Florida Rule of Judicial Administration 2.516(b)(1)(A), the Defendant,

        ALDI, hereby gives notice of the primary and secondary e-mail addresses of its counsel as

        follows:

                        Counsel’s name:                Suzanne A. Singer
                        Primary e-mail address:        ssinger@rumberger.com
                        Secondary e-mail address(s):   docketingmiami@rumberger.com and
                                                       ssingersecy@rumberger.com
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                                                                    CASE NO.: 18-13643 CC 05


                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true copy of the foregoing was served by e-Filing with the

   Clerk of Court via Florida e-Filing Portal and by U.S. Mail, to the following, this 8th day of

   August, 2018.

   Felicia Patterson
   16004 N.W. 38th Place
   Opa-Locka, FL 33054
   (Pro Se Plaintiff)


                                      s/ Suzanne A. Singer
                                      SUZANNE A. SINGER
                                      Florida Bar No.: 0946222
                                      E-mail: ssinger@rumberger.com (primary)
                                               docketingmiami@rumberger.com and
                                               ssingersecy@rumberger.com (secondary)
                                      RUMBERGER, KIRK, & CALDWELL, P.A.
                                      A Professional Association
                                      Brickell City Tower, Suite 3000
                                      80 Southwest 8th Street
                                      Miami, Florida 33130-3037
                                      Tel: 305.358.5577
                                      Fax: 305.371.7580
                                      Attorneys for Defendant




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                                    IN THE COUNTY COURT, IN AND FOR
                                      MIAMI-DADE COUNTY, FLORIDA

        FELICIA PATTERSON,

                                Plaintiff,

        vs.                                                          CASE NO.: 18-13643 CC 05

        ALDI,
                                Defendant.
                                                           /

                         DEFENDANT, ALDI’S MOTION FOR ENLARGEMENT OF
                           TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

                Defendant, ALDI (Florida) LLC (hereinafter referred to as “ALDI”), improperly named

        ALDI, by and through its undersigned counsel hereby moves for an enlargement of time within

        which to respond to Plaintiff’s Complaint, and in support states as follows:

                1.       On July 20, 2018, Plaintiff served ALDI with the Complaint in the above-

        referenced matter. ALDI’s response to the Plaintiff’s complaint is due on August 9, 2018.

                2.       The undersigned firm was recently retained as defense counsel for ALDI.

        Defense counsel needs additional time to diligently investigate the allegations and confer with

        her client in order to adequately respond to the Plaintiff’s complaint. As such, undersigned

        counsel requests up to and including August 30, 2018, in which to file an appropriate response to

        the Complaint.

                3.       No party will be prejudiced by this Court’s grant of the requested extension of

        time and the request is not made for purposes of delay.

                4.       Undersigned attempted to confer with Plaintiff in a good faith attempt to resolve

        the matters contained herein, but has been unable to make contact with the Plaintiff at her last

        known telephone number.
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            WHEREFORE, Defendant, ALDI, respectfully requests this Court grant the its motion

   and enter an order allowing an extension of time of up to and including August 30, 2018, by

   which to serve an appropriate response to Plaintiff’s Complaint.

                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true copy of the foregoing was served by e-Filing with the

   Clerk of Court via Florida e-Filing Portal and U.S. Mail to the following, this 8th day of August,

   2018.

   Felicia Patterson
   16004 N.W. 38th Place
   Opa-Locka, FL 33054

   (Pro Se Plaintiff)


                                       s/ Suzanne A. Singer
                                       SUZANNE A. SINGER
                                       Florida Bar No.: 0946222
                                       E-mail: ssinger@rumberger.com (primary)
                                                docketingmiami@rumberger.com and
                                                ssingersecy@rumberger.com (secondary)
                                       RUMBERGER, KIRK, & CALDWELL, P.A.
                                       A Professional Association
                                       Brickell City Tower, Suite 3000
                                       80 Southwest 8th Street
                                       Miami, Florida 33130-3037
                                       Tel: 305.358.5577
                                       Fax: 305.371.7580
                                       Attorneys for Defendant




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